911 F.2d 380
    UNITED STATES of America, Plaintiff-Appellee,v.Earl Thomas ANDERSON, Defendant-Appellant.
    No. 89-10059.
    United States Court of Appeals,Ninth Circuit.
    Sept. 5, 1990.
    
      Prior Report:  C.A.9, 895 F.2d 641.
      Before GOODWIN, Chief Judge, BROWNING, WALLACE, HUG, TANG, SCHROEDER, FLETCHER, FARRIS, PREGERSON, ALARCON, POOLE, NELSON, CANBY, NORRIS, REINHARDT, BEEZER, HALL, WIGGINS, BRUNETTI, KOZINSKI, NOONAN, THOMPSON, O'SCANNLAIN, LEAVY, TROTT, FERNANDEZ, and RYMER, Circuit Judges.
    
    ORDER
    
      1
      Upon the vote of a majority of nonrecused regular active judges of this court, it is ordered that this case be reheard by the en banc court pursuant to Circuit Rule 35-3.
    
    